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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA
Plaintiff,

vs. DEFENDANT’S WAIVER OF
HEARING

Case No. 21-MJ-07015-MKD-2

ANDRES GUTIERREZ,

Defendant.

 

 

 

I, Andres Gutierrez, hereby waive my right to the preliminary hearing now set
for February 2, 2021 at 3:00 P.M. I have been able to discuss this hearing, my right to
insist upon it, and my right to waive it with my attorney, through a court-certified

interpreter and make this waiver knowingly, intelligently, and voluntarily.

Signed at Kennewick, Washington January 29, 2021.

Anclves Cu “exVEe C

Andres Gutierrez

Interpreted in the Spanish Language on January 29, 2021 by Estela Castro, court-

certified interpreter.

Ciphriclh, Ayrd

Estela Castro

 

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LAW

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